       Case 4:13-cv-00778-MWB Document 47 Filed 12/13/13 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                          Williamsport Division

COLUMBIA GAS TRANSMISSION,
LLC,

      Plaintiff,

      v.                                   Civil Action # 4:13-CV-00778-MWB

1.01 ACRES, MORE OR LESS IN
PENN TOWNSHIP, YORK COUNTY,
PENNSYLVANIA, et al.,

      Defendants.


  PLAINTIFF’S RULE 59(E) MOTION TO ALTER, AMEND, AND/OR
                  RECONSIDER JUDGMENT

      Plaintiff Columbia Gas Transmission, LLC, by counsel and pursuant to Fed.

R. Civ. Pro. 59(e), moves this Court to alter, amend, and/or reconsider the

judgment entered on November 15, 2013. The grounds in support of this Motion

are set forth in the Memorandum of Law filed contemporaneously herewith.

Dated: December 13, 2013            Respectfully submitted,

                                    COLUMBIA GAS TRANSMISSION,
                                    LLC

                                    By Counsel

                                         /s/ John D. Wilburn
                                    Erin N. Fischer
                                    PA Bar No. 93155
                                    McGuireWoods LLP

                                       1
Case 4:13-cv-00778-MWB Document 47 Filed 12/13/13 Page 2 of 3



                           625 Liberty Avenue, 23rd Floor
                           Pittsburgh, Pennsylvania 15222-3142
                           P: 412-667-7919
                           F: 412-667-7974
                           E-Mail: efischer@mcguirewoods.com

                           Of Counsel:
                           M. Melissa Glassman (VA Bar No. 27526)
                           (admitted pro hac vice)
                           John D. Wilburn (VA Bar No. 41141)
                           (admitted pro hac vice)
                           Courtney S. Schorr (VA Bar No. 65971)
                           (admitted pro hac vice)
                           McGuireWoods LLP
                           1750 Tysons Boulevard, Suite 1800
                           Tysons Corner, Virginia 22102
                           P: 703-712-5000
                           F: 703-712-5050
                           E-mail: mglassman@mcguirewoods.com
                           E-mail: jwilburn@mcguirewoods.com
                           E-mail: cschorr@mcguirewoods.com

                           Counsel for Plaintiff
                           Columbia Gas Transmission, LLC




                             2
       Case 4:13-cv-00778-MWB Document 47 Filed 12/13/13 Page 3 of 3



                       CERTIFICATE OF SERVICE

      I hereby certify that on the 13th day of December, 2013 a true copy of the
foregoing Plaintiff’s Rule 59(e) Motion to Alter, Amend, and/or Reconsider
Judgment was filed electronically and thereby served on:

                        Michael F. Faherty, Esquire
                        225 Market Street, Suite 304
                        P. O. Box 1245
                        Harrisburg, PA 17108-1245
                        Counsel for Defendants


                                       /s/ John D. Wilburn
                                    John D. Wilburn
                                    McGuireWoods LLP
                                    1750 Tysons Boulevard, Suite 1800
                                    Tysons Corner, Virginia 22102
                                    P: 703-712-5000
                                    F: 703-712-5050
                                    E-mail: jwilburn@mcguirewoods.com




                                       3
